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                         UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF COLORADO
                          Bankruptcy Judge Elizabeth E. Brown
 In re:
                                               Bankruptcy Case No. 19-13115 EEB
 VERONICA GARCIA,
                                               Chapter
 Debtor.

                 ORDER AND NOTICE OF NON-EVIDENTIARY HEARING

       IT IS HEREBY ORDERED that the Chapter 7 Trustee’s Objection to Debtor’s
Claim of Homestead Exemption and Debtor’s Response thereto are set for a non-
evidentiary hearing on a trailing docket before Judge Elizabeth E. Brown on Thursday,
August 1, 2019, at 2:00 p.m., on a trailing docket, in the United States Bankruptcy
Court for the District of Colorado, Courtroom F, U.S. Custom House, 721 19th Street,
Denver, Colorado. The parties shall be prepared to make legal arguments, bring their
calendars and be prepared to schedule any further hearing as required.

          DATED this 18th day of July, 2019.
                                                 BY THE COURT:


                                                 __________________________
                                                 Elizabeth E. Brown, Bankruptcy Judge
